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COUNTY OF ORANGE

OFFICE OF THE COUNTY COUNSEL

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LEON J. PAGE, COUNTY COUNSEL

NICOLE M. WALSH, SENIOR ASSISTANT (CA SBN 248222)
nicole.walsh@coco.ocgov.com

CAROLYN M. KHOUZAM, DEPUTY (CA SBN 272166)

carolyn. khouzam@coco.ocgov,com

333 West Santa Ana Boulevard, Suite 407

Santa Ana, California 9270

Telephone: (714) 834-3300

Facsimile: (714) 834-2359

Atoreys for Defendants BARRY RONDINELLA,
in his official capacity as furor Director of
John Wayne Airport; and COUNTY OF ORANGE, CALIFORNIA

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION

DELUX PUBLIC CHARTER, LLC D/B/A | Case No. 8:20-cy-02344-JLS-KES
JSX AIR AND JETSUITEX, INC,

Plaintiff, DECLARATION OF WILLIAM

BORGSMILLER IN SUPPORT
v. OF DEFENDANTS’

COUNTY OF ORANGE, CALIFORNIA, a PPOSITION TO PLAINTIFF'S

charter county; BARRY RONDINELLA, EX PARTE APPLICATION

in his official capacity as Airport Director of
John Wayne Airpott.

Defendants.

 

 

 

DECLARATION OF WILLIAM BORGSMILLER

I, William Borgsmiller, declare:

1. I am the President and CEO of Aviation Consultants, Inc. d/b/a ACI Jet
(“ACI Jet”). I have personal knowledge of the facts set forth herein and, if called to
testify, could and would testify competently thereto.

2. In April 2017, ACT Jet began a short-term Interim Lease for Fixed Base
Operations with the County at John Wayne Airport (“JWA”), which since that time has

continued as a month-to-month tenancy.

 
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3. The Interim Lease was silent on whether ACI Jet could sublease to a
regularly scheduled charter service, such as Delux Public Charter, LLC, d/b/a JSX Air
and JetsuiteX, Inc, (“JSX’’).

4. JSX and ACI Jet sought and received Airport Director approval to allow
JSX to begin operations as a sub-lessee on ACI Jet’s Fixed Base Operator (“FBO”)
leasehold. JSX and ACI Jet entered a month-to-month sublease in which JSX rented
space for a fee. A true and correct copy of the sublease is attached hereto as Exhibit A.

5. The month-to-month sub-lease between ACI Jet and JSX stated that the
agreement was “subject and subordinate to the Master Lease and will automatically
terminate on the expiration or termination of the Master Lease”.

6. In response to a County of Orange Request for Proposals (“RFP”) for FBOs
at JWA, ACI Jet submitted a competitive bid proposal for a lease that would commence
January 1, 2021, which proposed that ACI would make various upgrades to the FBO
leasehold.

7. The County’s RFP contained no prohibition on regularly scheduled charter
operations, such as JSX.

8. In response to a question in the RFP, ACI Jet stated it had no plans to
sublease to a regularly scheduled charter service provider such as JSX. ACI Jet was
selected for a highly sought after long-term FBO lease.

9. ACT Jet and the County executed a lease in September 2020 that reflected
ACI Jet’s RFP proposal, which did not provide for the type of regularly scheduled charter
operations that JSX offers.

10. ACT Jet’s current Interim Lease with the County expires on December 31,
2020.

11. On November 16, 2020, ACI Jet sent JSX a Notice of Termination of JSX’s
month-to-month sublease with ACI Jet effective December 31, 2020. A true and correct

copy is attached here as Exhibit B.

 
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COUNTY OF ORANGE

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12, ACI Jet does not have plans to seek a lease amendment from the County to
allow for regularly scheduled charter operations.

I declare under penalty of perjury under the laws of the United States of America
and the State of California that the foregoing is true and correct.

Executed this 16th day of December, 2020, at range Coanify California.

Ke Borgsmiller, Declarant

 

 
